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UNITED STATES DISTRICT COURT i.
SOUTHERN DISTRICT OF NEW YORK

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JON R. MORGAN, ae Ee

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Plaintiff, :
: ORDER
-against- :
: 19 Civ. 10911 (GBD)
UNIQUE USA, INC., :
Defendant. :
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GEORGE B. DANIELS, United States District Judge:

The March 25, 2020 conference is adjourned to May 27, 2020 at 9:30 a.m.

Dated: New York, New York SO ORDERED.

March 24, 2020 Y
bids, & Dire
GEDRGYP. DANIELS
ed States District Judge

 

 
